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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 Kari Crutcher,
                                                  Civil Action No. 23-cv-01025-CFC
                         Appellant,

                  v.                              Bankruptcy Case No. 22-10584 (CTG)
                                                  Bankruptcy BAP No. 23-00050

 Pacific Investment Management Company,
 LLC,

 PIMCO Investments LLC,

                         Appellees.


      DESIGNATION OF RECORD AND STATEMENT OF ISSUES ON APPEAL
                 PURSUANT TO FED. R. BANKR. P. 8009(a)

       Pursuant to Fed. R. Bankr. P. 8009(a), Appellant Kari Crutcher, by and through

undersigned counsel, hereby respectfully submits this designation of the record on appeal and

statement of issues on appeal in connection with her appeal from the Court’s Order Granting

Motion of the PIMCO Parties to Enforce the Chapter 11 Plan and Confirmation Order [Docket

No. 951] and respectfully states as follows:

                       DESIGNATION OF THE RECORD ON APPEAL

       Kari Crutcher hereby designates the following pleadings and other documents as the record

on appeal:
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                         ECF DOC.
ITEM NO.   FILING DATE                               PLEADING / DOCUMENT
                           NO.
                                      Supplemental Second Amended Complaint and
   1         8/3/23       900-3
                                      Demand for a Jury Trial (the “Complaint”)



                                      Amended, Modified and Restated Combined
                                      Disclosure Statement and Chapter 11 Plan of First
   2        10/31/22       652
                                      Guaranty Mortgage Corporation and Debtor Affiliate
                                      (the “Plan”)
                                      Findings of Fact, Conclusions of Law, and Order
                                      (I) Approving Disclosures on a Final Basis and
   3        11/2/2022      671        (II) Confirming the Amended Combined Disclosure
                                      Statement and Chapter 11 Plan of First Guaranty
                                      Mortgage Corporation and Debtor Affiliate



                                      Transcript regarding Hearing Held 07/11/2023 RE:
   4        7/13/2023      881
                                      Motion to Compel, Motion for Limited Relief
                                      Motion of Pacific Investment Management Company
   5         8/3/23        900        LLC and PIMCO Investments LLC to Enforce the
                                      Chapter 11 Plan and Confirmation Order
                                      The Liquidating Trustee’s and Post-Effective Date
                                      Debtors’ (I) Joinder to Motion of Pacific Investment
   6         8/17/23       918        Management Company LLC and PIMCO Investments
                                      LLC to Enforce the Chapter 11 Plan and Confirmation
                                      Order and (II) Reservation of Rights
                                      B2 FIE XI LLC and LVS II SPE XXXIV LLC’s
                                      Joinder to Motion of Pacific Investment Management
   7         8/17/23       919
                                      Company LLC and PIMCO Investments LLC to
                                      Enforce the Chapter 11 Plan and Confirmation Order
                                      Objection by Kari Crutcher to Motion by Pacific
                                      Management Company LLC and PIMCO Investments
   8         8/28/23       930
                                      LLC to Enforce the Chapter 11 Plan and Confirmation
                                      Order
                                      Reply of the PIMCO Parties in Further Support of
   9         9/1/23        941        Their Motion to Enforce the Chapter 11 Plan and
                                      Confirmation Order
                                      Order Granting Motion of the PIMCO Parties to
  10         9/5/23        951
                                      Enforce the Chapter 11 Plan and Confirmation Order

  11         9/7/23        956        Transcript regarding Hearing Held 9/5/2023

  12         9/19/23       966        Notice of Appeal


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                        STATEMENT OF THE ISSUES ON APPEAL

       Kari Crutcher hereby states the following as the issues on appeal pursuant to Fed. R. Bankr.

P. 8009(a)(1)(A):

       1.      Did the bankruptcy court err as a matter of law in concluding that the Complaint

asserts claims that are barred by the Plan injunction?

       2.      Did the bankruptcy court err as a matter of law in concluding that the claims

asserted against the Appellees in the Complaint are derivative claims of the Debtor?




 Dated: October 3, 2023
        Wilmington, Delaware               /s/ Jesse L. Noa
                                           Jesse L. Noa (No. 5973)
                                           R. Stephen McNeill (No. 5210)
                                           Andrew L. Brown (No. 6766)
                                           POTTER ANDERSON & CORROON LLP
                                           1313 N. Market Street, 6th Floor
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 984-6000
                                           Email: jnoa@potteranderson.com
                                                   rmcneill@potteranderson.com
                                                   abrown@potteranderson.com

                                           -and-

                                           Chelsea Ireland
                                           Morgan Greene
                                           COHEN ZIFFER FRENCHMAN & MCKENNA
                                           1325 Avenue of the Americas
                                           New York, NY 10019
                                           Telephone: (212) 584-1890
                                           Email: cireland@cohenziffer.com
                                                  mgreene@cohenziffer.com

                                           Counsel for Appellant Kari Crutcher




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